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 8                        UNITED STATES DISTRICT COURT

 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

10   Amazon Content Services, LLC, et al.,           Case No. 2:18-cv-3325 MWF-AS

11                Plaintiffs,
                                                     DEFENDANTS’ CORPORATE
12          vs.                                      DISCLOSURES AND NOTICE
                                                     OF INTERESTED PARTIES
13   Set Broadcast, LLC, et al.,                     [FED. R. CIV. P. 7.1; LOCAL
                                                     CIVIL RULE 7.1-1]
14                Defendants.

15      Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1-1, the

16 undersigned, counsel of record for Defendants Set Broadcast, LLC d/b/a Setvnow,

17 Jason Labossiere, and Nelson Johnson certifies that the following listed parties may

18 have a pecuniary interest in the outcome of this case. These representations are

19 made to enable the Court to evaluate possible disqualification or recusal.

20      Defendants have no interested parties to report at this time.

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             DEFENDANTS’ CORPORATE DISCLOSURES AND NOTICE OF INTERESTED PARTIES
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      DATED this 13th day of July, 2018.
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4                                          STRONG & HANNI

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6                                          /s/Joseph Shapiro
                                           Joseph Shapiro
7                                          Attorneys for Defendants

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          DEFENDANTS’ CORPORATE DISCLOSURES AND NOTICE OF INTERESTED PARTIES
